Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 1 of 10




           Exhibit C (part 2)
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 2 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 3 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 4 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 5 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 6 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 7 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 8 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 9 of 10
Case 1:01-cv-12257-PBS Document 6197-5 Filed 06/26/09 Page 10 of 10
